   Case 5:18-cr-50050-KES Document 2 Filed 04/24/18 Page 1 of 11 PageID #: 13




                      UNITED STATES DISTRICT COURT
                       DISTRICT OF SOUTH DAKOTA
                                                                      FILED
                            WESTERN DIVISION                              ~PR 14 2ms
                                                                          ~~
UNITED STATES OF AMERICA                       5',   18 -   m'j ~'3---\
                                                     REDACTED AFFIDAVIT IN
      V.                                             SUPPORT OF CRIMINAL
                                                     COMPLAINT
KYLE SOTO,                                           FILED UNDER SEAL

                  Defendant.


(STATE OF SOUTH DAKOTA)
(                     ) ss
(COUNTY OF PENNINGTON )

      I, Brian Freeouf, Investigator with the Pennington County Sheriff's Office

(PCSO) and currently assigned to the South Dakota Internet Crimes Against

Children Taskforce (ICAC), being duly sworn, states as follows:

      1.    I began my law enforcement career with Pennington County in July

of 2005. I spent approximately 3 years on patrol in the contract community of

Wall, SD. I was then assigned to the patrol division in Rapid City in 2008. I was

promoted to the rank of Senior Deputy in July of 2010. I also spent time as a

School Liaison Officer and Criminal Investigations Division as a Property Crimes

Investigator. Even though I was assigned as a Property Crimes Investigator I

also investigated other crimes including, but not limited to, homicides, rapes,

assaults, and coroner duties. My other assignments within the Sheriffs Office

include Deputy Coroner, Field Training Deputy, and Defensive Tactics Training
  Case 5:18-cr-50050-KES Document 2 Filed 04/24/18 Page 2 of 11 PageID #: 14




Administrator. Due to the placement on ICAC, I have also been given the title of

Special Assistant Attorney General of the State of South Dakota.

      2.     During my law enforcement career I have become familiar with the

modus operandi of persons involved in enticement of a minor using the internet

in violation of federal law.    Based on my experience and training, I am

knowledgeable of the various means utilized by individuals who illegally attempt

to meet with children in order to engage in criminal sex acts.

      3.     The information set forth below is based upon my knowledge of an

investigation conducted by the South Dakota Internet Crimes Against Children

Taskforce (ICAC) and the investigation of other law enforcement agents and

officers including but not limited to, South Dakota Division of Criminal

Investigation (DCI), Homeland Security Investigations (HSI), the Rapid City Police

Department, and the Pennington County Sheriffs Office. I have not included

each and every fact obtained pursuant to this investigation, but have set forth

those facts that I believe are essential to establish the necessary probable cause

for the criminal complaint. I have not omitted any material fact relevant to the

consideration of probable cause for a criminal complaint against the above

named defendant.

      4.   I have been informed that 18 U.S.C. § 2422(b), Enticement of a Minor

Using the Internet, makes it a crime for a person to use the internet or any other

means, which affects interstate commerce, attempt to knowingly persuade,




                                        2
   Case 5:18-cr-50050-KES Document 2 Filed 04/24/18 Page 3 of 11 PageID #: 15



 induce, entice, and coerce a person who has not attained the age of 18 years to

 be caused to engage in a crimi?al sex act.

      5.    Your affiarit respectfully submits that there is probable cause to

 believe that Kyle Soto committed the crime of enticement of a minor using the

 internet in violation of 18 U.S.C. § 2422(b).

                              PROBABLE CAUSE

      6.     On 4/17/2018, South Dakota ICAC Commander SSA Brent Gromer

contacted me and advised me the Rhode Island ICAC needed assistance locating

a suspect in South Dakota. SSA Gromer sent me the case information, including

that Bristol Police Department Detective John Nappi was investigating the case.

The case consisted of an 1 lyo boy being exploited online for naked images of

himself. Detective Nappi developed an IP address being used by the suspects

email account. That IP address is registered to Midcontinent Communications

out of Sioux Falls SD. Detective Nappi sent Midcontinent Communications a

search warrant but they would not honor it due the fact he was not signed by a

Federal Court or a Court from the state of South Dakota.

      7.    During the month of February 2018, Martha Finnegan, a Rhode

Island resident, made a complaint with the Federal Bureau of Investigation (FBI)

regarding an unknown individual soliciting child pornography from an 11-year-

old male, for whom she is the legal guardian. The FBI referred this investigation

to the Rhode Island State Police and the Rhode Island ICAC Task Force. In his

affidavit, Nappi referred to the 11-year-old as "John Doe" to protect his identity.


                                         3
   Case 5:18-cr-50050-KES Document 2 Filed 04/24/18 Page 4 of 11 PageID #: 16




      8.     On February 20, 2018, Nappi met with Martha Finnegan in regard

to this complaint. Finnegan stated she is the legal guardian for 11-year-old John

Doe. Finnegan stated she was going through John Doe's email, and discovered

that Doe had been conversing with an unknown male (suspect). The suspect

offered to pay Doe to send an explicit video of himself. Doe had sent the suspect

an image exhibiting his penis in a graphic and lascivious manner. The suspect

further stated he/ she would share the illicit photograph of Doe with Doe's

mother if Doe refused to send a video displaying his genitals. Doe's electronic

devices were turned over to Nappi for forensic analysis.     Finnegan provided

consent for the RI ICAC to assume Doe's online identity in order to further this

investigation.

      9.     Detective Lavallee, member of the ICAC Task Force, signed in to

Doe's email utilizing the username and password provided by Finnegan. Nappi

located an email conversation between Doe and the suspect, who was utilizing

the email account, shane118@;gmail.com with the user name Shana Roberts. It

was apparent that Doe deleted his emails, therefore not all were visible. There

were a number of sections of the conversation that were accessible by reading

the threads attached to sent messages.

      10.   On November 15, 2017, the suspect extorted Doe and solicited Doe

to produce and send child pornography.         Below is an exceprt from the

conversation, all chat conversations are verbatim, including misspellings and

grammatical errors:


                                         4
    Case 5:18-cr-50050-KES Document 2 Filed 04/24/18 Page 5 of 11 PageID #: 17




 Doe: Give me the fucking money

 Suspect: not till i get something since you left when i was gonna pay you

 Suspect: last chance !

 Suspect: ok well good thing i recorded you naked i will post it online sour

 mom sees it.

 Suspect: goodluck online ... uuvenile victim's name omitted)

 Later in the conversation:

 Suspect: send me a full naked pie on here then and I will send it. because

 you left

 Doe:ok

       11.   On February 20, 2018, Detective Lavallee began communicating

 with the suspect in an undercover capacity, portraying himself as the 11-year-

 old male. Detective Lavallee learned that at some unknown time, the victim and

 the suspect engaged in a video chat on the website Fruzo. During that video

 chat, the victim displayed his genitals on the video. The suspect took a screen

 shot of the video, which showed the victim with his genitals exposed. The suspect

· also alleged that he saved the entire video. During the conversation, the suspect

 solicited Detective Lavallee, a person he (the suspect) believed to be an 11-year-

 old male, to produce and send child pronography, stating he would pay Detective

 Lavallee for a video of child pornography. The suspect also attempted to extort

 Detective Lavallee. Below is an excerpt from the conversation:

Suspect: Last Chance. One video and ill pay


                                         5
  Case 5:18-cr-50050-KES Document 2 Filed 04/24/18 Page 6 of 11 PageID #: 18




Undercover: sry imjst nervous. u kno im 11, if1 get caught my mom will ground

me til im 18 lol

Suspect: She won't find out when u sent it delete it from ur phone. U wont

get caught

Undercover: y should I trust ull send the money

Suspect: Because im risking lots of money!! Im not gonna scam u

Suspect: Ok i went and bought a 200$ card believe me now?? (The suspect

included a photograph of an Amazon gift card)

Undercover: lol ur not risking ne thing lol. i send u a video then u don't send it and

im screwed and u have my video and still have the money

Suspect: I just sent a picture of the card i bought. If you want the code

send me a video

Undercover: right but it's the same thing, how do I know ull give me the code?

Suspect: I gave you proof.... clearly you don't want it ..

Undercover: I do im just scared

Suspect: No need to be ... i wont show anyone and im rich I will pay you

Suspect: Here is half the code .... X7HS-9KD2. You will get the other half

after the video

Undercover. im too scared

Suspect: You don't have to show your face .. nobody will know its you ok?

Undercover: so what do you want me to show then?




                                          6
   Case 5:18-cr-50050-KES Document 2 Filed 04/24/18 Page 7 of 11 PageID #: 19




Suspect: Just you naked from your stomach down ... and jacking off your

dick

Undercover: idk

Suspect: Well guess what I recorded you that time we were on fruzo so if

you don't want me to post this online and show ur mom ... i need a video

now

Suspect: Im not joking

Suspect: Then make a video now or im gonna show her.

Suspect: I know ur name so I can find her really easily. If we make a deal i

wont show her tho

       12.   During the chat conversation, the suspect also sent Detective

Lavallee child pornography in the form of an image of what the suspect alleged

to be a screen shot of the aforementioned video chat on Fruzo.         The image

depicted a male, believed to be the victim, 11-year-old John Doe, displaying his

genitals to the camera in a lude and lascivious manner.

       13.   On February 22, 2018, legal process was sent to Google Legal

Invesigations Support. On April 6, 2018, Google responded to the legal process.

Nappi viewed the Internet Protocol (IP) connection logs associated with the Google

email address shane118@)gmail.com. The IP connection logs showed logins and

logouts occurred from February 19, 2018 at 01:14:53 UTC to February 21, 2018,

23:59:47. Nappi conducted an inquiry with the American Registry of Internet

Numbers (ARIN) and determined that owner of IP address 208.107.164.178 was


                                        7
   Case 5:18-cr-50050-KES Document 2 Filed 04/24/18 Page 8 of 11 PageID #: 20




MidContinent Communications, 3901 N. Louise Avenue, Sioux Falls, South

Dakota 57107.

       14.   Thereafter, I confirmed the IP address and it is assigned to

Midcontinent Communications. I was also able to locate that IP address was

being utilized in the Rapid City area market. This would indicate the user of the

IP address likely lives in the Rapid City area.

       15.   On April 17, 2018, I applied for a search warrant reference user

information of the IP address 208.107.164.178.       The Honorable Judge Matt

Brown granted the search warrant and I proceeded to serve that search warrant

on Midcontinent Communications. Midcontinent Responded later that day with

the following information:

Erica Soto

Rapid City, SD 57702
Home Phone: 605-545-2644


       16.   I checked if Erica was listed in our local law enforcement system and

I did not find any information for her. I checked social media was able to find a

Facebook account for Erica Soto who lives in Rapid City. Further examination

showed she is married to Kyle Soto.

       17.   On April 17, 2018, at about 1500 hours, I drove past

- i n Rapid City. The house is faces south and is a single level home. The

numbers -       are visibly displayed on the front porch pillar of the home. The

house has brown siding halfway up the house and is beige in color the rest of

the way up. There was a black GMC Terrain sitting out front of the house. The

                                         8
   Case 5:18-cr-50050-KES Document 2 Filed 04/24/18 Page 9 of 11 PageID #: 21




vehicle was backed into the driveway and there was not a license plate on the

front of the vehicle.

       18.   I communicated with Detective Nappi via email and I told him the

information I had obtained. He told me based on the last name he had previously

developed a suspect named Kyle Soto. I told him he appeared to be the husband

to the Erica Soto. Detective Nappi agreed with me and sent me an image they

had receive during their investigation of the suspect. The image provided to me

of the man appeared to be the same person I saw on Erica Soto's Face book and

Kyle Soto's Facebook.

       19.   On 4/ 19/ 18, I checked if Kyle Soto was listed in our local law

enforcement system. Kyle was in our local system. In 2016, Kyle was the victim

of a vehicle burglary. At the time, Kyle was living at                     . The

vehicle that was burglarized was a 2011 Black GMC Terrain, like the one I saw

in the driveway, with Florida License Plate CNME22.      In 2017, Kyle was also

served civil paperwork at                        . Based on the Internet history,

the car, and the photos of both Erica and Kyle being married. I believe Kyle Soto

lives at                     . and was the individual commanding John Doe to

engage in production of child pornography.

      20.    While preparing for the search warrant, I stayed in contact with

Detective Nappi and he advised me of the following. Detective Nappi had served

a search warrant, for the email account, which was being utilized by Kyle Soto,

during the chats with the 1 lyo victim, and the undercover officers. The email


                                        9
  Case 5:18-cr-50050-KES Document 2 Filed 04/24/18 Page 10 of 11 PageID #: 22




account is shane118@gmail.com. Detective Nappi advised he had also received

the contents of the email from Gmail. They were able to find the video and chat

of their 1 lyo victim. Further follow up is needed, but they found numerous other

unidentified minor victims who were also enticed for naked images in the same

manner as their 1 lyo victim.

      21.    Detective Nappi advised he believed this email was being utilized by

Kyle Soto based on the IP address which came back to his residence is the same

IP address used to log into the Gmail account. A photo which was captured from

the chats of the suspect matched a photo of Kyle on Face book.

                     REQUEST FOR SEALING OF MATTER

      22.    I request that the Court order sealing this case for 180 days. The

documents filed in the case discuss an ongoing criminal investigation that is

neither public nor known to all the targets of the investigation. Accordingly,

there is good cause to seal these documents because their premature disclosure

may give targets an opportunity to flee, destroy or tamper with evidence, change

patterns of behavior, notify confederates, or otherwise seriously jeopardize the

investigation.

                                WARRANT REQUEST

      23.    Based on the above-mentioned information, I respectfully request

this Court to issue an arrest warrant for Kyle Soto.




                                       10
  Case 5:18-cr-50050-KES Document 2 Filed 04/24/18 Page 11 of 11 PageID #: 23




                                 CONCLUSION

      24.   Your affiant submits that there is probable cause to believe that Kyle

Soto committed a violation of 18 U.S.C. § 2422(b).

      Wherefore, I request the issuance of a criminal complaint and arrest

warrant against Kyle Soto.

      Dated:   ~'f/1«'
                                            Pennington County Sheriff's Office
                                            and Internet Crimes Against
                                            Children Taskforce




Sworn to before me and:
igl. signed in my presence.
D submitted, attested to, and acknowledged by reliable electronic means.


DANETA WOLLMANN
U.S. MAGISTRATE JUDGE




                                       11
